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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 0:18-CV-61984-ALTMAN/Hunt


   POLLY BASSETT,

          Plaintiff,

   v.

   WAL-MART STORES EAST, L.P.,

          Defendant.


                              PLAINTIFF’S NOTICE OF FILING
                                 EMAIL FROM VERITEXT

         The Plaintiff, POLLY BASSETT, by and through undersigned counsel, files an email from

  Veritext advising the Hamilton Miller & Birthisel failed to schedule a court reporter for the

  morning of July 3, 2019, and Hamilton Miller & Birthisel—despite reserving two hours of the

  Doctor’s time—choose to cancel the deposition instead of waiting for the court reporter to show.

                                                      Respectfully submitted,
  Dated: July 11, 2019
                                                      By: s/Matthew Sean Tucker
                                                      Matthew Sean Tucker
                                                      Florida Bar No. 90047
                                                      Tucker Law®
                                                      200 SE 6TH Street, Suite 405
                                                      Fort Lauderdale, FL 33301
                                                      Telephone: (954) 204-0444
                                                      Facsimile: (954) 358-4946
                                                      Matt@TuckerUp.com
                                                      Attorney for Plaintiff(s)




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                                  CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on July 11, 2019, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record

  and interested parties through this system.

                                                         By: s/Matthew Sean Tucker

  Service List:
  Annalisa Gutierrez, Esq.
  Gilda M. Chavez, Esq.
  Jerry D. Hamilton, Esq.
  Hamilton, Miller & Birthisel, LLP
  150 Southeast Second Avenue, Suite 1200
  Miami, FL 33131
  agutierrez@hamiltonmillerlaw.com
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  jhamilton@hamiltonmillerlaw.com




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Basset vs. Walmart
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         Subject: Basset vs. Walmart
         From: "ARamsay ‐ Calendar Associate" <calendar‐corp@veritext.com>
         Date: 7/11/2019, 12:48 PM
         To: ma @tuckerup.com

         In regards to the Basset v. Walmart, we received the scheduling for you 7/3/19 hearing
         at 8:43 AM. However, the information given stated that the hearing was scheduled to
         start at 8:30. We made calls to reporters for and got the overall consensus that our
         nearest reporter was 1 hour away. At 8:52AM, we relayed the info to our client, Hamilton
         Miller & Birthisel, at which point they directed us to cancel the request as the hearing
         would need to be continued.

         We are still awaiting the new date.

         Hope this helps!

         Kind regards,

         —
         Ashley Ramsay | Calendar Associate




         P 800‐567‐8658 | F 877‐202‐5077
         calendar‐corp@veritext.com
         www.veritext.com




            Attachments:

             c54ab8d7                                                                   0 bytes




1 of 1                                                                                  7/11/2019, 12:52 PM
